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IN THE UNITED STATES DISTRICT COURT HMDBL~
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

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9 OF TN 'w§r\`wrja'c_:
YOLANDA MICHELLE HANANIYA,

Plaintiff,
_ 2
vs. Civ. No. -2793-D P

CITY OF MEMPHIS,

Defendant.

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
June 9, 2005. Present were Kathleen Caldwell, Counsel for
plaintiff, and Patrick Daniel Riederer, counsel for defendant. At
the conference, the following dates were established as the final
dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1):
Completed

JOINING PARTIES: COmplet€d

AMENDING PLEADINGS: COmpleted

INITIAL MOTIONS TO DISMISS: COmpleted
COMPLETING ALL DISCOVERY: NOVembeI‘ 30, 2005

(a) DOCU'MENT PRODUCTION: NOvember 30, 2005

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(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: November 30, 2005

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: August 31, 2005

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: September 30, 2005

(3) EXPERT WITNESS DEPOSITIONS: NOVember 30, 2005
FILING DISPOSITIVE MOTIONS: January 16, 2006

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
Cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection. to the default, response,
answer, or objection shall be waived.

This case is set for a jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding judge. It is anticipated. that the trial will last
approximately 5-7 days.

The parties are reminded that pursuant to Local Rule
ll(a){l){A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessaryg it shall file a motion. for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

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This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause
scheduling dates
extended.

shown, the
set by this order will not be modified or

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

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Date

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Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
case 2:02-CV-02793 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

